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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                    *      CRIMINAL DOCKET

VERSUS                                                      *      NO. 07-169

BARRY S. SCHEUR, ET AL.                                     *      SECTION “L” (2)


                                    ORDER & REASONS

       Before the Court is Robert McMillan’s Motion to Dismiss All Counts of the Indictment

(Rec. Doc. 27) and Barry Scheur’s Motion to Dismiss Indictment (Rec. Doc. 36). For the

following reasons, the Defendants’ motions are now DENIED.

I.     FACTUAL BACKGROUND

       In January 2000, Barry Scheur took control of a Louisiana-licensed health maintenance

organization (“HMO”) called Southeastern Medical Alliance and renamed it The Oath for

Louisiana, Inc. Scheur was the owner, president, chief executive officer, and director of The

Oath and its parent companies, Venture Health Partnership Group of Louisiana, Inc. and Venture

Health Partnership Group, LLC. Scheur was also the owner, president, and chief executive

officer of Scheur Management Group, Inc. (“SMG”), a healthcare consulting business. Robert

McMillan and Rodney Moyer were retained by SMG as consultants. Danette Bruno was

employed by SMG as its controller. SMG was allegedly paid between $200,000 and $350,000

per month, for a total of $6.1 million over approximately two years, to manage The Oath.

        The Oath received insurance premiums from and on behalf of member individuals and

groups and, in turn, was obligated to pay medical providers such as hospitals and physicians for


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services provided to the insureds. Louisiana regulates many aspects of an HMO’s operations;

for example, state law requires that HMOs file various financial reports and maintain a minimum

net worth. See La. Rev. Stat. Ann. § 20:2001 et seq. The financial reports which were filed on

behalf of The Oath inaccurately represented its net worth as being sufficient. In fact, The Oath

had insufficient funds and was unable to pay medical providers for services rendered to insureds.

In April of 2002, the Louisiana Department of Insurance (“LDOI”) placed The Oath in

receivership and began liquidation proceedings.

II.    PROCEDURAL BACKGROUND

       In November 2005, a grand jury indicted Scheur, McMillan, and Moyer on charges of

mail fraud and conspiracy stemming from the financial failure of The Oath. On February 17,

2006, the grand jury returned a Superseding Indictment adding Bruno as a defendant and adding

eleven new counts. Six months later, on August 11, 2006, the grand jury returned a Second

Superseding Indictment for Conspiracy, Mail Fraud, and Wire Fraud. The Second Superseding

Indictment charged one count of conspiracy to commit mail and wire fraud in violation of 18

U.S.C. § 371, five counts of mail fraud in violation of 18 U.S.C. § 1341, and eight counts of wire

fraud in violation of 18 U.S.C. § 1343. The Government alleged that beginning at least as early

as September 2000 and continuing through at least April 2002, the Defendants “did knowingly

and willfully devise and intend to devise a scheme and artifice to defraud and obtain money and

property by means of material false and fraudulent pretenses, representations and promises by

misleading the LDOI into believing that The Oath was meeting the statutorily required minimum

net worth of $3 million, and thereby unlawfully enriching themselves through continued

operation of The Oath, during a time when The Oath was not meeting that statutorily required


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minimum net worth.” (Second Superseding Indictment ¶ 19.)1

       On January 3, 2007, the Court denied the Defendants’ motion to dismiss the Second

Superseding Indictment. The Court read the indictment liberally, and found that it alleged more

than fraud on the Louisiana Department of Insurance (“LDOI”). The Court concluded that “all

of the facts alleged in the indictment, which the Court must accept as true, lead to the

inescapable conclusion that in addition to defrauding the LDOI, the Defendants also defrauded

insureds and medical providers of property, namely money.” United States v. Scheur, No. 05-

304, 2007 WL 29065, at *4 (E.D. La. Jan. 3, 2007). Thus, the Court held that Cleveland v.

United States, 531 U.S. 12 (2000), did not mandate dismissal of the indictment.

       On April 3, 2007, the Court reconsidered its decision and dismissed all counts of the

Indictment, the Superseding Indictment, and the Second Superseding Indictment for failure to

state an offense against the United States. The Court found, upon further consideration, that the

Government had failed to specifically allege that anyone other than the LDOI was defrauded,

and that an implication or inference that someone other than the LDOI was defrauded was

insufficient under Cleveland. The Court stated that “[b]eyond the general allegation in the first

paragraph of the Second Superseding Indictment that The Oath ‘received insurance premiums . .

. and, in turn, paid medical providers,’ the indictment makes no reference to any victims

defrauded of ‘property,’” and ultimately concluded that in order to avoid the Cleveland problem,

an impermissible “constructive amendment” of the indictment would be required when charging

the jury. United States v. Scheur, No. 05-304, 2007 WL 1063301, at *2 & n.3 (E.D. La. Apr. 3,


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         All of these materials appear in criminal docket number 05-304, which was the case
number originally assigned to the case. The first three indictments were later dismissed, a new
indictment was filed, and the instant criminal docket number was opened.

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2007). Accordingly, the Court dismissed all of the indictments and entered judgment in favor of

the Defendants.

        On April 27, 2007, the Government filed what it termed a Third Superseding Indictment

in this case pursuant to 18 U.S.C. § 3288, which provides that:

        [w]henever an indictment or information charging a felony is dismissed for any
        reason after the period prescribed by the applicable statute of limitations has expired,
        a new indictment may be returned in the appropriate jurisdiction within six calendar
        months of the date of dismissal of the indictment.

18 U.S.C. § 3288 (2000) (emphasis added). The Court met with the parties and counsel agreed

that a new case would be opened for this “new indictment” (as there was nothing left to

supersede in criminal docket number 05-304), but that this Court would retain the case in light of

its familiarity with the matter.

        In the new indictment, the Government alleges that beginning at least as early as

September 2000 and continuing through at least April 2002, the Defendants “did knowingly and

willfully devise and intend to devise a scheme and artifice to defraud and obtain money and

property, specifically from The Oath, The Oath’s insureds, and The Oath’s medical service

providers, by means of material false and fraudulent pretenses, representations and promises by

misleading the LDOI into believing that The Oath was meeting the statutorily required minimum

net worth of $3 million, and thereby unlawfully enriching themselves through continued

operation of The Oath, specifically by continuing to collect premiums from the insureds and

continuing to collect management fees from The Oath, during a time when The Oath was not

meeting that statutorily required minimum net worth.” (New Indictment ¶ 19) (emphasis added).

III.    PRESENT MOTIONS

        The Defendants now move again to dismiss all charges in this matter, asserting two

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arguments in support of the instant motions. First, the Defendants argue that the new indictment

is untimely under 18 U.S.C. § 3282 and cannot be “saved” by 18 U.S.C. § 3288 because it

substantially broadens the previous charges. Second, while the new indictment explicitly alleges

that someone other than the LDOI was deprived of property, and therefore “cures” the Cleveland

problem previously identified by the Court, the Defendants argue that it nevertheless fails to

state an offense against the United States due to a lack of convergence between the entity

allegedly defrauded (the LDOI) and the entities from whom property was obtained (the insureds,

medical providers, and The Oath itself). In response, the Government contends that both

arguments lack merit and asks the Court to deny the instant motions and allow this case to

proceed to trial.

IV.     LAW & ANALYSIS

        A.      Timeliness of the New Indictment

        The charges in this case are subject to the five-year statute of limitations for non-capital

offenses. See 28 U.S.C. § 3282 (“Except as otherwise expressly provided by law, no person

shall be prosecuted, tried, or punished for any offense, not capital, unless the indictment is found

or the information is instituted within five years next after such offense shall have been

committed.”). It is undisputed that the alleged mail and wire frauds were committed between

March and December of 2001, and that the LDOI seized control of The Oath on April 10, 2002.

The most recent indictment in this case was returned on April 27, 2007, more than five years

after the LDOI seized control of The Oath. But the Government argues that the charges in this

new indictment may nevertheless be timely in light of 28 U.S.C. § 3288, which provides as

follows:


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              Whenever an indictment or information charging a felony is dismissed for
       any reason after the period prescribed by the applicable statute of limitations has
       expired, a new indictment may be returned in the appropriate jurisdiction within six
       calendar months of the date of the dismissal of the indictment or information . . . .2

Courts have held that “an untimely indictment can only be saved by the section 3288 exception if

it does not broaden or substantially amend the original charges ‘tolled’ by the previous

indictment.” United States v. Italiano, 894 F.2d 1280, 1283 (11th Cir. 1990); see also United

States v. Charnay, 537 F.2d 341, 354-55 (9th Cir. 1976) (noting that § 3288 only tolls the

limitations period if “approximately the same facts” are “used for the basis of any new

indictment” when “the earlier indictment runs into legal pitfalls”). The determination of whether

the original charges are broadened is dependent on whether the defendant was afforded sufficient

notice of the charges contained in the new indictment. As the Italiano court recognized,

“[n]otice to the defendant is the central policy underlying the statute of limitations. If the

allegations and charges are substantially the same in the old and new indictments, the

assumption is that the defendant has been placed on notice of the charges against him.” Italiano,

894 F.2d at 1283.

       Accordingly, the issue presented in the instant case is whether the original indictments

afforded the Defendants sufficient notice that the Government was alleging that people or

entities other than the LDOI were being defrauded and deprived of money or property. In its

initial review of the prior indictments, the Court previously noted that “all of the facts alleged . .



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          Without engaging in a detailed analysis of exactly when the statue of limitations began
to run on the instant charges, the Court notes that it is conceivable that the statue of limitations
had not expired when all charges were dismissed on April 3, 2007, but rather merely before the
most recent indictment was returned. Section 3289 would govern this alternative situation, but
the analysis would be the same as that under section 3288.

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., which the Court must accept as true, lead to the inescapable conclusion that in addition to

defrauding the LDOI, the Defendants also defrauded insureds and medical providers of property,

namely money.” United States v. Scheur, No. 05-304, 2007 WL 29065, at *4 (E.D. La. Jan. 3,

2007). Ultimately, the Court was convinced that in light of Cleveland, the indictment should

have explicitly stated as much, which it now does. But the basic theory underlying the

prosecution of this case has not changed. The Government alleges, previously by implication

and now directly, that the Defendants presented false information in The Oath’s financial

statements in order to collect premiums from the insureds and then use these premiums to pay

themselves management fees, rather than paying medical providers for services rendered to the

policyholders. The Defendants have been aware from the first indictment that they were on trial

for their part in this scheme.

       The Defendants’ argument in this case is almost identical to the one asserted by the

defendant in Italiano. In that bribery case, the original mail fraud charge alleged a scheme to

defraud citizens of Hillsborough County, Florida of their right to honest governmental services.

See Italiano, 894 F.2d at 1281. The original indictment was dismissed in light of the Supreme

Court’s decision in McNally v. United States, 483 U.S. 350 (1987), which held that the mail

fraud statute only protects citizens from the fraudulent taking of money or property. The new

indictment cured the McNally problem by alleging a scheme to defraud the government of

Hillsborough County of a cable television license. See Italiano, 894 F.2d at 1282. Because the

two indictments relied on the same underlying facts, despite a change in the object of the fraud,

the Eleventh Circuit held that the defendant was not deprived of notice and that the new

indictment fit within the section 3288 exception. Id. at 1286.


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       Unlike Italiano, the object of the fraud has not changed in this case, but has merely been

explicitly specified. The earlier indictments did not specifically allege that anyone other than the

LDOI was deprived of property, but this was clearly implied. The current indictment now

specifically alleges that insureds, medical providers, and The Oath itself were defrauded of

property, namely money. If the Defendants’ argument were to be accepted in this case, “section

3288 would be rendered essentially useless in correcting defects in indictments that stem from

legal errors.” Italiano, 894 F.2d at 1286. The new indictment in this case merely cures a

potential Cleveland defect, it does not broaden or substantially amend the original charges, and

therefore the Court concludes that the new indictment is timely.

       B.      Convergence

       In its initial review of the prior indictments in this case, the Court discussed the concept

of convergence and concluded that the indictments did not fail to state an offense on this ground:

               It has been said that “[a] prosecution that relies solely on a theory that the
       defendant was unjustly enriched by the fraudulent scheme is insufficient to allege a
       cognizable [mail fraud] offense.” Donna M. Maus, Comment, License Procurement
       and the Federal Mail Fraud Statute, 58 U. Chi. L. Rev. 1125, 1138 & n.75 (1991).
       This is because there must be a “convergence” between the person the defendant
       intends to deceive and the person wrongly deprived of property. See United States
       v. Lew, 875 F.2d 219, 221 (9th Cir. 1989) (“[T]he intent must be to obtain money or
       property from the one who is deceived.”); United States v. Evans, 844 F.2d 36, 38-40
       (2d Cir. 1988) (“The point is not that the defendant must receive the same money or
       property that the deceived party lost, but only that the party deceived must lose
       money or property.”).
               However, the government does not rely solely on a theory of unjust
       enrichment in this case, as it did in Cleveland. The defendants in Cleveland
       fraudulently obtained a license from the government and unjustly enriched
       themselves by operating video poker machines. The patrons that paid to play video
       poker were not defrauded; they obtained enjoyment (and perhaps jackpots) in return
       for their antes. The insureds and medical providers were not so lucky in this case.
       Indeed, they were collectively stuck with a $45 million bill after two years of dealing
       with The Oath.


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United States v. Scheur, No. 05-304, 2007 WL 29065, at *4 (E.D. La. Jan. 3, 2007) (footnote

omitted). Moreover, as the Court recognized in a footnote to this discussion, “[t]here is no

statutory requirement that direct misrepresentations must be made to the victims of the scheme.”

United States v. Pepper, 51 F.3d 469, 472-73 (5th Cir. 1995). The recent decision by the United

States Court of Appeals for the Fifth Circuit in United States v. Ratcliff, 488 F.3d 639 (5th Cir.

2007), does not dictate a different result. In Ratcliff, the Fifth Circuit made clear that while “the

misrepresentations in a mail fraud scheme need not be made directly to the scheme’s victim, the

alleged scheme to defraud must nevertheless be one to defraud the victim.” 488 F.3d at 473

(internal citation omitted). The Court stands by its prior conclusion that the indictment in this

case charges a scheme to defraud insureds, medical providers, and The Oath itself of property,

and therefore the Court will not revisit the issue of convergence.

V.     CONCLUSION

       Accordingly, for the foregoing reasons, IT IS ORDERED that Robert McMillan’s Motion

to Dismiss All Counts of the Indictment (Rec. Doc. 27) and Barry Scheur’s Motion to Dismiss

Indictment (Rec. Doc. 36) are hereby DENIED.3



       New Orleans, Louisiana, this 17th day of         September , 2007.




                                                         UNITED STATES DISTRICT JUDGE



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         By Order of the Court, the other Defendants in this case, Rodney Moyer and Danette
Bruno, are deemed to have joined in the instant motions to dismiss. See Rec. Docs. 100 & 119 in
criminal docket number 05-304; see also Rec. Doc. 38 in criminal docket number 07-169.

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